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           IN THE UNITED STATES DISTRICT COURT FOR THE
                  NORTHERN DISTRICT OF FLORIDA
                      TALLAHASSEE DIVISION

JOHN HENRY FREDERICK,
      Plaintiff,
v.                                                  Case No. 4:24-cv-182-AW-MAF
STATE OF FLORIDA, et al.,
     Defendants.
_______________________________/
                             ORDER OF DISMISSAL

      John Frederick, a three-striker pro se inmate, initiated this case with a

handwritten filing that is difficult to comprehend. He did not file on the proper form,

he did not pay a filing fee, he did not seek leave to proceed IFP, and he did not allege

any imminent injury. The magistrate judge recommended dismissal based on these

facts, and Frederick has not objected to the report and recommendation. Frederick

did move for an extension. ECF No. 8. It is unclear what deadline he asks the court

to extend, but to the extent he seeks more time to submit objections to the report and

recommendation, the motion is DENIED because it did not show good cause.

      Having considered the matter, I now adopt the report and recommendation

(ECF No. 4) and incorporate it into this order. The clerk will enter a judgment that

says, “This case is dismissed without prejudice for failure to pay the filing fee or file

an IFP motion.” The clerk will then close the file.




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SO ORDERED on June 24, 2024.

                            s/ Allen Winsor
                            United States District Judge




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